   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 1 of 16 PageID #:371



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOSE L. PARRA, individually and on behalf,        )
of all others similarly situated,                 )      No. 18 CV 5936
                                                  )
              Plaintiff,                          )      Hon. Edmond E. Chang
                                                  )
       v.                                         )
                                                  )
OCWEN LOAN SERVICING, LLC,                        )
                                                  )
              Defendant.                          )

       PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS,
               OR, IN THE ALTERNATIVE, MOTION TO STAY

       Plaintiff, JOSE L. PARRA (“Parra”), by and through his attorneys, Larry D.

Drury Ltd. and MARSHAL P. MORRIS, LLC, responds to OCWEN LOAN SERVICING,

LLC’s, (“Ocwen) Motion to Dismiss, Or, In the Alternative Motion to Stay, Plaintiff’s

Complaint (“Complaint”), pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6), and states as

follows:

                                STANDARD OF REVIEW

       A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b) (6) tests

the sufficiency of the complaint, not the merits of the case. Gibson v. City of Chicago, 910

F.2d 1510, 1520 (7th Cir. 1990). To survive a 12(b) (6) motion to dismiss, the complaint

must provide a short and plain statement of the claim showing that the pleader is

entitled to relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). An adequately

                                              1
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 2 of 16 PageID #:372



stated claim may be supported by showing any set of facts consistent with the

allegations in the complaint. Twombly, 550 U.S. at 563. Lastly, the Court accepts as true

all of the well-pleaded facts alleged by the plaintiff and all reasonable inferences that

can be drawn therefrom. Barnes v. Briley, 420 F.3d 673, 677 (7th Cir. 2005). Federal Rule

of Civil Procedure 12(b) (1) provides for dismissal of an action for “lack of subject

matter jurisdiction.” See FED.R.CIV.P. 12(b) (1). In reviewing a motion challenging the

sufficiency of the allegations regarding subject matter jurisdiction, the court accepts as

true all well-pleaded factual allegations and draws all reasonable inferences in favor of

the plaintiff. Long v. Shorebank Dev. Corp., 182 F.3d 548, 554 (7th Cir. 1999).

                                       ARGUMENT

       I.     OCWEN FAILED TO APPLY PARRA’S UNAPPLIED FUNDS
              CONSISTENT WITH THE ILLINOIS MORTGAGE FORECLOSURE
              ACT AND THE CONTRACTUAL CONDITIONS OF THE
              MORTGAGE

       Ocwen argues that Parra confuses the concept of a foreclosure lawsuit with the

foreclosure itself and contends that a foreclosure is not complete until the judgment of

foreclosure has been entered and the property has been sold. Parra responds that under

the Illinois Mortgage Foreclosure Law, 735 ILCS 5/15 et seq., (“Mortgage Law”), the

term “foreclosure” means an action. In this case, the action for foreclosure was initiated

when the initial complaint was filed against Parra. Parra’s interpretation is fully

supported by two Northern District of Illinois cases where the parties disputed the


                                              2
      Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 3 of 16 PageID #:373



definition of the term “foreclosure” under the Mortgage Law. In both Lomas & Nettleton

Co. v. Humphries, 703 F. Supp. 757 (N.D. Ill. 1989) and Moore v. Loma Mortgage, USA, 814

F. Supp. 741 (N.D. Ill. 1993), the courts held that “foreclosure” meant the foreclosure

proceeding itself.

         Lomas determined that the word “foreclosure” refers to the proceeding itself, an

action for foreclosure, and not to its resolution. Id. at 758. The court further noted that

the Illinois mortgage statute defines “foreclosure” as “an action commencing under this

Article.” Id. Similarly, Moore stated that the term “foreclosure” in the statute means

“the [foreclosure] proceeding itself.” Moore, 814 F. Supp, at 743. Moore further stated

that since "foreclosure" refers to an action for foreclosure, it follows that the statute

affords mortgagors in default the right to reinstate their mortgage once an action for

foreclosure is commenced, where triggering event is the filing of a foreclosure action.

Id.

         The reasoning from Lomas and Moore makes logical sense, as the offsetting of the

“unapplied funds” at the inception of the process would correctly inform Parra the

amount actually owed by him. Therefore, as a condition precedent, a servicer must

apply the funds held in “unapplied” or “suspense” accounts prior to the filing of the

foreclosure complaint. However, that did not happen in Parra’s case. The failure to

apply Parra’s funds prior to filing the foreclosure complaint is not simply an accounting

issue, but rather a disregard of the condition precedent.

                                              3
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 4 of 16 PageID #:374



       Further, 735 ILCS 5/1504(j), the Judicial Foreclosure Procedure statute, outlines

the contents of a foreclosure complaint and states that, “[s]tatement as to defaults,

including, but not necessarily limited to date of default, current unpaid principal balance,

per diem interest, accruing and any further information concerning the default.”

(emphasis added). The plain language of Section (j) demonstrates that the legislature

intended that a complaint for foreclosure must state the “current unpaid principal

balance that is due at the time the complaint is filed. The most reliable indicator of

legislative intent in enacting a statute is the language of the statute itself, which must be

given its plain and ordinary meaning. Hiroshi Hayashi v. Illinois Department of Financial

& Professional Regulation, 2014 IL 116023, ¶16. The failure to reduce Parra’s outstanding

debt at the time the foreclosure complaint was due resulted in the alleged principal due

to be overstated and all calculations made based on the overstated principal amount

were incorrect, including any per diem calculations, and late fees. Since there was no

compliance with Section (j), the amount in the foreclosure complaint that Parra

allegedly owed was overstated.

       Ocwen also argues that under Illinois Supreme Court Rule 113(c) (“Rule 113”)

the unapplied funds will be reflected in the prove-up affidavit submitted by non-party

Deutsche Bank. However, Ocwen’s reliance on Rule 113 as dipositive evidence is not

supported by the language of either Parra’s mortgage or Rule 113 itself. Rule 113 does

not mention suspense accounts, unapplied funds, or any requirements as to when

                                              4
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 5 of 16 PageID #:375



unapplied funds must be applied to the outstanding principal balance, as is at issue

here. Ocwen argues that Rule 113(c)(4) provides a form affidavit that includes an

itemization which specifically deducts the unapplied funds in Parra’s suspense account.

However, Parra contends that the itemization, is a line item entitled, “Less/Plus balance

in reserve accounts” that is intended for mortgages, unlike Parra’s, that do not contain

express provisions regarding the application of unapplied funds before foreclosure.

       Ocwen’s argument ignores the clear and express terms of the Uniform Covenants

section of Parra’s mortgage that requires Parra’s unapplied funds to be applied to the

outstanding principal balance under the Note immediately prior to filing the

foreclosure proceedings. A mortgage is a contract between the lender and the

borrower, it contains terms and conditions that bind both parties. When a contract

contains an express condition precedent, strict compliance with such terms is required.

Midwest Builder Distributing, Inc. v. Lord and Essex, Inc., 383 Ill. App. 3d 645, 668 (1st Dist.

2007). "Illinois courts define a condition precedent as one which must be performed

either before a contract becomes effective or which is to be performed by one party to

an existing contract before the other party is obligated to perform." Kinesoft Development

Corp. v. Softbank Holdings, 139 F. Supp. 2d 869, 889 (N.D. Ill. 2001) quoting MXL

Industries, Inc. v. Mulder, 252 Ill. App. 3d 18, 25(2d Dist. 1993). Courts will enforce

express conditions precedent despite the potential for harsh results for the

noncomplying party. Id. A review of Parra’s mortgage shows that it is wholly absent of

                                               5
      Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 6 of 16 PageID #:376



any mention of Rule 113, or prove-up affidavits and Ocwen has not pointed to any

portion of Rule 113 that contains language allowing Ocwen to act contrary to the

express requirement in Parra’s mortgage regarding unapplied funds.

         As a result of all the above, this Court should employ the statutory definition of

foreclosure to find that Ocwen failed to apply Parra’s unapplied funds consistent with

his claims, and Ocwen’s motion to dismiss should be denied.

II.      THE ANTI-INJUNCTION ACT IS NOT APPLICABLE TO PLAINTIFF’S
         INJUNCTIVE RELIEF

         Ocwen argues that this Court should dismiss Count V, of Parra’s Complaint, that

seeks injunctive relief because the Anti-Injunction Act generally prohibits federal courts

from enjoining state court proceedings. Ocwen claims that “Parra seeks to use a second

court as a vehicle to interfere with the first-filed action that has been pending in state

court for over two years. This type of interference is what the Anti-Injunction Act is

designed to prohibit.” (Motion, at 12, Doc. No. 15). Ocwen’s argument is

disingenuous, because it omits that Parra filed his initial action against Ocwen in state

court and it was Ocwen that removed the matter to federal court. (Removal, Doc. No.

1). Further, the Complaint does not seek injunctive relief to enjoin any state court

proceedings. The Complaint pleads a prohibitive injunction asking that Ocwen be

restrained from failing to apply unapplied funds and a mandatory injunction to verify,




                                              6
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 7 of 16 PageID #:377



notify and warn Parra and the Class as to Ocwen’s failure to apply the unapplied funds

to the outstanding principal balance prior to foreclosure. (Comp. ¶¶ 42, 43, Doc. No. 1).

As such, the Complaint seeks injunctive relief that would not require this Court to

enjoin any state proceedings.

       III.   PARRA’S CLASS ALLEGATIONS SHOULD NOT BE DISMISSED
              BEFORE RULE 23 CLASS CERTIFICATION

       As an initial matter, Parra responds that although the motion for class

certification has been filed, the issue of class certification is not yet before the Court and

there has been no class discovery or briefing. Given the nature of Parra’s claims and

Ocwen’s actions, the issue of class certification should not be decided prior to discovery

on all class issues. The Complaint pleads a certifiable class under Rule 23, as it alleges

numerosity, commonality, typicality, adequacy, ascertainability, and common questions

that predominate making a class action superior to individual actions. (See Comp.

¶¶10-16, Doc. No. 1). While, a court may reject a plaintiff's attempt to represent a class

as soon as it is obvious that the plaintiff will be unable to satisfy Rule 23, most often it

will not be "practicable" for the court to do so at the pleading stage, unless the

complaint makes it clear that class certification is inappropriate. Hill v. Wells Fargo Bank,

N.A., 946 F. Supp. 2d 817, 829 (N.D. Ill. 2013).

       Ocwen argues that the Court should dismiss Parra’s class allegations without

even considering Rule 23’s requirements, for three reasons. First, Ocwen states res


                                              7
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 8 of 16 PageID #:378



judicata bars the absent class members’ claims from prior foreclosure cases. Second,

Ocwen states that like Parra’s individual claim, the Anti-Injunction Act bars this Court

from enjoining on-going state-court proceedings. Third, Ocwen argues that the Court

lacks personal jurisdiction over non-Illinois mortgagors.

       A.    The Class Members Claims are Not Barred by Res Judicata

      Ocwen erroneously alleges that Parra “seeks to re-litigate a decade of foreclosure

cases that are now final and complete” and thus, res judicata applies to the absent Class

members’ claim. (Def. Motion, at 12, Doc. No. 15). A review of the Complaint

establishes that the Complaint expressly requests injunctive relief (Count V) only as to

unresolved foreclosure cases, not to cases already adjudicated by final judgment, i.e.,

the Complaint provides that Ocwen should be directed by a preliminary and

permanent mandatory injunction to dismiss all of Ocwen's pending foreclosure actions

against the Parra and the Class. (Comp. ¶43, Doc. No. 1)(emphasis added). Further, the

Complaint defines the Class as “similarly situated Ocwen mortgagors”, not as all past

or present mortgagors. (Comp. ¶¶1,10, Doc. No. 1). Thus, only pending cases that have

not reached a final judgment on the merits are alleged on the Class’ behalf. Ocwen’s

argument lacks falls flat, and their motion to dismiss should be denied.

      B.     The Anti-Injunction Act is Not Applicable to Plaintiff’s Relief




                                            8
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 9 of 16 PageID #:379



       For the reasons given supra at 6, the Complaint seeks injunctive relief that would

not require this Court to enjoin any state proceedings and Count V of the Complaint

should not be dismissed.

       C.     The Court Has Jurisdiction over Ocwen

       Ocwen argues that the Court should dismiss the claims asserted on behalf of

non-Illinois mortgagors for lack of personal jurisdiction, because without general

jurisdiction over the defendant, a plaintiff in putative class action may not assert claims

on behalf of out-of-state class members against a defendant, without a specific

connection between those claims and the forum. Ocwen also argues that general

jurisdiction is lacking, because Ocwen is not incorporated, or has its principal place of

business in Illinois, and the allegations against Ocwen’s activities in Illinois only

concern Parra’s own case. Lastly, Ocwen relies on the U.S. Supreme Court decision in

Bristol-Myers Squibb Co. v. Super. Ct. of Cal., 137 S. Ct. 1773, 1781 (2017) to argue that a

state may not assert specific jurisdiction over a nonresident’s claim where the

connection to the state is based on the defendant’s conduct in relation to a resident

plaintiff, and not the nonresident plaintiff. Parra responds that Ocwen’s arguments

regarding the Court’s lack of jurisdiction lack merit when examined against applicable

law and they should not be credited for the reasons below.

       First, Parra only needs to make out a prima facie case for personal jurisdiction

and any disputes concerning facts relevant to jurisdiction in the Complaint should be

                                               9
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 10 of 16 PageID #:380



resolved in Parra’s favor. A complaint does not need not include facts alleging personal

jurisdiction. Steel Warehouse of Wisconsin, Inc. v. Leach, 154 F.3d 712, 715 (7th Cir. 1998).

If the defendant moves to dismiss the complaint under Federal Rule of Civil Procedure

12(b) (2) the plaintiff bears the burden of demonstrating the existence of jurisdiction.

Central States, S.E. & S.W. Areas Pension Fund v. Reimer Express World Corp., 230 F.3d 934,

939 (7th Cir. 2000). Without the benefit of an evidentiary hearing, a plaintiff only needs

to make out a prima facie case of personal jurisdiction. Hyatt Int'l Corp. v. Coco, 302 F.3d

707, 713 (7th Cir. 2002). In evaluating whether the prima facie standard has been

satisfied, the plaintiff "is entitled to the resolution in its favor of all disputes concerning

relevant facts presented in the record." Nelson v. Park Indus., Inc., 717 F.2d 1120, 1123

(7th Cir. 1983).

       Second, Parra responds that the Complaint alleges facts that establish Ocwen’s

business in Illinois was sufficiently substantial and its business contacts were

continuous and systematic. The Complaint alleges that Ocwen provides mortgage loan

servicing services in Cook County, Illinois and throughout the United States. (Comp.

¶3, Doc. No. 1). Additionally, Parra alleges the Class is defined as all similarly situated

Ocwen mortgagors throughout the United States against whom Ocwen has failed to

apply or return to borrower “unapplied funds” prior to foreclosure. (Comp. ¶9, Doc.

No. 1). Ocwen attempts to minimize the magnitude and substance of its business in

Illinois, by speculating without any discovery being conducted, that Illinois foreclosures

                                              10
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 11 of 16 PageID #:381



only form a tiny portion of the total number of claims that Parra seeks to adjudicate.

(Motion, at 17, Doc. 15). Such speculation, does not overcome that under a 12(b) (6)

motion to dismiss, the Court accepts as true all of the well-pleaded facts alleged by the

plaintiff and all reasonable inferences that can be drawn therefrom. Barnes v. Briley, 420

F.3d at 677.

       Ocwen has not and cannot deny that it conducted business in Illinois as Parra

alleges. Thus, the facts establish that general jurisdiction exists, because Plaintiff

alleged Ocwen’s business in Illinois was sufficiently substantial and its contacts were

continuous and systematic. A court may assert general jurisdiction over sister-state

corporations to hear any and all claims against them when their affiliations with the

State are so “continuous and systematic” as to render them essentially at home in the

forum State. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011).

Courts look for continuous and systematic general business contacts, and inquire

whether the business was sufficiently substantial and of such a nature as to permit the

exercise of personal jurisdiction. Erno Kalman Abelesz v. OTP Bank, 692 F.3d 638, 654 (7th

Cir. 2012).

       Third, Ocwen relies on the U.S. Supreme Court decision in Bristol-Myers to argue

that specific jurisdiction does not exist, because there is no nexus between Illinois and

the claims of non-Illinois mortgagors, as the class allegations relate to foreclosures of

real property in other states other those states’ laws. Ocwen states that since Bristol

                                             11
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 12 of 16 PageID #:382



Myers was announced, numerous decisions in the Northern District of Illinois have

applied the Supreme Court’s analysis in dismissing or striking out-of-state claims in

putative class actions. However, Ocwen’s argument ignores that Bristol Myers did not

expressly address its application to a class action, such as Parra’s, as opposed to a mass

tort. Bristol Myers, 137 S. Ct., at 1781-82. This distinction is critical because plaintiffs

and the class are defined through Rule 23 class certification and not at the time of

pleading. See F.R.C.P. 23(c)(1)B). Parra responds that the courts are divided on this

issue and Judge Feinerman’s opinion in Al Haj v. Pfizer Inc., 2018 WL 3707561 (N.D. Ill.

Aug 3, 2018) and Judge Gotschall’s recent decision in Weinberg v. Nissan North America,

Inc., Case No. 17-CV-8867 (N.D. Ill. Sep 29, 2018) are both instructive and applicable

here.

        Al Haj held that since absent class members are not parties for purposes of

diversity of citizenship, amount in controversy, Article III standing, and venue, they

must also not be a party for purposes of personal jurisdiction. Al Haj reasoned that all

these doctrines share a key feature, in that each governs a court's ability, constitutional

or statutory, to adjudicate a particular person's or entity's claim against a particular

defendant and in that context, absent class members are not parties. Al Haj v. Pfizer Inc.,

No. 17 C 6730, 2018 U.S. Dist. LEXIS 130249, at *7-8 (N.D. Ill. Aug. 3, 2018). Weinberg

cited to Al Haj’s reasoning and held that Bristol Myers did not “upend the previously

settled principles of personal jurisdiction in plaintiff class actions… on which the

                                               12
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 13 of 16 PageID #:383



Supreme Court explicitly declined to rule.” Weinberg, Case No. 17-CV-8867, at

PageID#430, (N.D. Ill. Sep 29, 2018).

         Additionally, Parra alleges that Ocwen purposefully directed its mortgage

servicing activities at Illinois and injured Parra in Illinois, which satisfies the elements

for specific jurisdiction. (Comp. ¶¶ 3, 9, Doc. No.1). Specific jurisdiction requires that

"(1) the defendant has purposefully directed his activities at the forum state or

purposefully availed himself of the privilege of conducting business in that state, and

(2) the alleged injury arises out of the defendant's forum-related activities. Monster

Energy Co. v. Chen Wensheng, 136 F. Supp. 3d 897, 903 (N.D. Ill. 2015). Lastly, Parra

responds that Ocwen should not be able to deny specific jurisdiction here, because

Ocwen acknowledged jurisdiction by removing the matter from state court to this

Court.

         For all the reasons above, this Court should find that it has jurisdiction to hear

Parra’s class action claims and Ocwen’s motion to dismiss should be denied.

         IV.    EXCEPTIONAL CIRCUMSTANCES DO NOT EXIST TO SUPPORT A
                STAY UNDER THE COLORADO RIVER DOCTRINE

         In the alternative Ocwen asks the Court to stay the lawsuit, under Colorado River

Water Conservation District v. United States, 424 U.S. 800 (1976), pending the resolution

of the state court foreclosure suit. Ocwen argues that Parra’s state and federal actions

are parallel and thus Colorado River abstention is appropriate. However, Parra responds


                                               13
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 14 of 16 PageID #:384



that Ocwen fails to mention that abstention from the exercise of federal jurisdiction is

the exception, not the rule. Id. at 813. Abstention can only be justified in exceptional

circumstances. Ankenbrandt v. Richards, 504 U.S. 689, 705 (1992). In general, exceptional

circumstances exist "where denying a federal forum would clearly serve an important

countervailing interest," such as "considerations of proper constitutional adjudication,"

"regard for federal-state relations," or "wise judicial administration." Quackenbush v.

Allstate Ins. Co., 517 U.S. 706, 716 (1996).

       Ocwen’s argument fails to mention that Parra filed a state court action that

Ocwen removed to federal court, and the actions are parallel only due to Ocwen’s

choice. Ocwen also neglects to mention that Parra attempted to assert a counterclaim in

the state foreclosure action, but the court denied Parra leave to file a counterclaim. (See

Sep. 27, 2017 Order, Doc. No. 15-6). As such, there is no parallel counterclaim with

respect to the foreclosure.

       Additionally, Ocwen argues that parallelism exists, because there is a substantial

likelihood that the state foreclosure will somehow dispose of all claims presented in the

federal case. Ocwen speculates with its self-serving conclusion that barring

“unforeseen circumstances, the end result to of the state-court lawsuit will be that this

federal case is barred under claim preclusion principles.” (Motion, at 21, Doc. No. 15).

Ocwen continues its speculation and argues that since Parra has asserted the theory of

this case as an affirmative defense in the state foreclosure, the state court will adjudicate

                                               14
   Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 15 of 16 PageID #:385



that issue, and will bar Parra’s claims in federal court once the stay is lifted. Further,

assuming, without admitting, that Ocwen’s speculation comes true and the state court

rules in favor of summary judgment for Deutsche Bank, Ocwen’s argument ignores that

finality on the issue is not immediate. Ocwen fails to note that any appeals and

decisions will be completed in years instead of a few months’ time. Ocwen has not

provided any argument or support for delaying Parra’s allegations through use of a

stay.

        Ocwen’s speculative and unsupported motion lacks merit and this Court should

not find that exceptional circumstances exist to invoke a stay. Any doubt regarding the

parallel nature of the state court suit should be resolved in favor of exercising

jurisdiction. Freed v. J.P. Morgan Chase Bank, N.A., 756 F.3d 1013, 1019 (7th Cir. 2014).

As a result, this Court should deny Ocwen’s request to stay these proceedings.

        WHEREFORE, Plaintiff, JOSE L. PARRA, respectfully requests that this Court

deny Defendant Ocwen’s Motion to Dismiss Plaintiff’s Complaint in its entirety.

                                           Respectfully submitted,

                                           JOSE L. PARRA, individually and on
                                           behalf of himself and all others similarly
                                           situated,

                                           By: /s/ Larry D. Drury

LARRY D. DRURY
LARRY D. DRURY, LTD.


                                             15
  Case: 1:18-cv-05936 Document #: 25 Filed: 11/08/18 Page 16 of 16 PageID #:386



100 North LaSalle Street
Suite 2200
Chicago, Illinois 60602
(312) 346-7950
Attorney No. 0681024
ldd@larrydrury.com

MARSHAL P. MORRIS
MARSHAL P. MORRIS LLC
2519 Live Oak Lane
Buffalo Grove, IL 60089
847.634.2211
Mpm727@aol.com




                                       16
